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 2   State Bar No. 11479
     ADEN KAHSSAI
 3   Assistant Federal Public Defender
     Nevada State Bar No. 15581
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 7   Attorney for Benjamin Cottman
 8
                                 UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:18-cr-00129-JCM-DJA
12                  Plaintiff,                           STIPULATION TO CONTINUE
13                                                       REVOCATION HEARING
            v.
                                                         (First Request)
14   BENJAMIN COTTMAN,
15                  Defendant.
16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Sue Fahami, Acting
18   United States Attorney, and Mina Chang, Assistant United States Attorney, counsel for the
19   United States of America, and Rene L. Valladares, Federal Public Defender, and Aden Kahssai,
20   Assistant Federal Public Defender, counsel for Benjamin Cottman, that the Revocation Hearing
21   currently scheduled on February 26, 2025, be vacated and continued to a date and time
22   convenient to the Court, but no sooner than three (3) weeks.
23          This Stipulation is entered into for the following reasons:
24          1.      There is a Motion for District Judge’s Review of Magistrate Judge’s Detention
25   Order currently pending. The government will need time to respond. Defense would like to see
26   the resolution of that motion before proceeding to the revocation hearing.
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 1          2.      Defense counsel and government counsel have not received disclosures for the
 2   revocation hearing. Defense counsel will need additional time to review the disclosures with
 3   Mr. Cottman.
 4          3.      The parties need additional time to potentially resolve the pending Petition and
 5   Addenda through negotiations.
 6          4.      The defendant is in custody and agrees with the need for the continuance.
 7          5.      The parties agree to the continuance.
 8          This is the first request for a continuance of the revocation hearing.
 9          DATED this 24th day of February, 2025.
10
11    RENE L. VALLADARES                              SUE FAHAMI
      Federal Public Defender                         Acting United States Attorney
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13
      By /s/ Aden Kahssai                             By /s/ Mina Chang
14    ADEN KAHSSAI                                    MINA CHANG
      Assistant Federal Public Defender               Assistant United States Attorney
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 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:18-cr-00129-JCM-DJA
 4
                    Plaintiff,                           ORDER
 5
            v.
 6
     BENJAMIN COTTMAN,
 7
                    Defendant.
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 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for

11   February 26, 2025 at 10:30 a.m., be vacated and continued to March 26, 2025 at the hour

12   of 10:00 a.m.; or to a time and date convenient to the court.

13          DATED this ___ day25,
                   February    of 2025.
                                  February, 2025.

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                                                  UNITED STATES DISTRICT JUDGE
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